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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

    LORI MCCUE, individually and on behalf of               Case No. 0:22-cv-60896-RAR
    all others similarly situated,

                   Plaintiff,

    v.

    A1 EXCURSIONS LLC, a Florida limited
    liability company, and TOP TIER TRAVELS
    LLC, a Florida limited liability company,

                   Defendants.


                                      NOTICE OF DISMISSAL

         Plaintiff Lori McCue hereby notifies the Court of the dismissal of this action with prejudice

  as to Plaintiff’s individual claims and without prejudice as to any other member of the putative

  class’s right to bring claims, with each party to bear its own attorneys’ fees and costs.

                                                Respectfully submitted,

  DATED this 22nd day of June, 2022.

                                                By: /s/ Avi R. Kaufman
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                                                Attorneys for Plaintiff and the putative Classes
